Case 1:18-cr-20136-FAM Document 78 Entered on FLSD Docket 01/30/2019 Page 1 of 1




                             UN ITED STA TES D ISTRICT COU RT
                             SOU TH ERN D ISTRICT OF FLO RIDA
                                 C ase N o.18-20136-CR -M O R EN O
U N ITED STA TES O F A M ERICA
       Plaintiff,

LEW IS R IC H A RD BEN N ET T,
       D efendant.
                                  /
            SE C O N D A M EN D ED N O TIC E O F SE N TE N C IN G D A TE
TO: DEFENDANTIS),DEFENSE COUNSEL,AND U.S.ATTORNEY'S OFFICE
         By direction ofthe H onorable FED ER IC O A .M O R EN O ,U nited States D istrict Judge,
Y OU ARE H EREBY O RDERED to appear in the U nited States D istrict Courtfor the Southern
D istrictofFlorida on
                     M ay 28,2019 at9:00 a.m .
forim position ofsentence. On the date,reportto the U .S.Courthouse,Courtroom ,13-3,13TH
Floor,U nited States Courthouse,400 N .M imniA venue,M iam i,Florida 33128,w here sentence w ill
be im posed. You w illreceive no furthernotice.
       lftheabove-nnmeddefendantts)has/haveexecutedabondwiththisCourt,thisnoticeadvises
thedefendantts)thatfailuretoappearasdirectedhereineouldresultinhis/her/theirbeingcharged
withaviolationoftheComprehensiveCrimeControlAct(18U.S.C.Sec.3146),whichcarriesa
maximum sentenceofuptoten (10)yearsimprisonmentandafineof$25,000,orboth,ifconvicted.
       IT ISFURTHER ORDERED thjtaPresentenceInvestigatignandReport(PSR)tothisCourt
w illbe com pleted and a copy m ade avallable to the partiesand thelrcounsez
                                                                           l DEFEN SE
COUNSEL AND THE DEFENDANTISIUIF ON BOND ARE TO REPORT THIS DATE TO THE
UN ITED STATES PR OBA TION OFFICE O F THE COU RT FO R IN TERVIEW AN D FURTHER
INSTRUCTION (U.S.Courthouse,400N.M iamiAvenue,Room (9S41).
       IT IS FURTHER ORDERED thattheU .S.Attorney'sOfficeimm ediately providetheU.S.
Probation D epartm entthe necessary inform ation to prepare the Prosecution Section ofthe
Presentence Report.
DA TED :January 29.2019                                      STEVEN LAR IM ORE,CLERK
C OUN SEL:D 'A rsey H oulihan.A FPD
                                                             By:     -
GO V 'T:K urtLunkenheim er                                                lr ey   lstle
                                                                         Deputy Clerk
The defendant,having pled guilty asto Count
               ON E                  ofthe lnform ation and the defendant
is In Custody.
